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                Exhibit B
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17 November, 2020


The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, NY 10007

Re: United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)


Confidential Letter in Support of Ghislaine Maxwell.


Your Honor:

My name is




I submit the following letter in support of         Ghislaine Maxwell's character and for bail.

I have known Ghislaine
                  I observed her           grow up and become a lovely, witty, resourceful, scrupulous
and trustworthy human being.
key values such as “consideration of others; that everyone is important, no matter if they are a king or a
street cleaner - there is something to be learned from every person, and they should be treated with
equal respect.




                 Additionally,                             a ferocious work ethic and Ghislaine was no
exception in deeply absorbing, exhibiting and living these values and training.


                                                                                          Cont/….




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Letter in Support of Ghislaine Maxwell Cont/…


As far as allowing my own young children and or their friends to visit          , both before and at any
time in the future, the answer is an unequivocal YES.                                         As a growing
teenager, he visited           in New York on his own
         I was very happy whenever                                  and she made sure they were safe and
happy and well looked after - always. They would come back exclaiming “we had a wonderful time with
                ” and “it was awesome!” I have not and I would not hesitate now, to allow any
youngster to visit with           and stay with her for any length of time with or without my presence.

I wish further and most critically as it obtains to this bail hearing, to attest to the loving relationship she
has with her husband                           which I have personally witnessed on many different
occasions.
            But I have been so moved at                 constant worry for them and protecting them from
the press and from any intrusion into their lives.




                                       That speaks to me, volumes about trust and about the true reality
of            character and values.


            Her love for                       her husband was a principal reason that she stayed close
by as possible while fighting for her innocence,




                                                                                 I recall on one
particularly bad occasion              when
                            a pack of photographers were converging on us all at once.

                                                                                                  -they were
so aggressive. I am no stranger to aggressive tactics by the press.




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I can attest to          calmness and courage and focus and consistency in immediately stating why
each allegation that comes up, was/is not true and why. She was completely consistent no matter how
many times it came up or what variations of it came up.

I know that        unlike the late Mr. Epstein and others, did not take the 5th in civil litigation. She
underwent many hours of deposition because she has nothing to hide.

The thousands by now of stories and accusations against her reported in the press have morphed into a
figurative tsunami of monikers –“madam”, “procurer”, “witch”, “monster” and “master architect” -
public opprobrium and character assassination. Absolutely anyone who dares to put their head above
the parapet so to speak, to question any of the accusers’ allegations, let alone support Ghislaine
personally, gets it shot off immediately amid of hail of social vilification and malignancy and reputational
slaughtering.

                                                                            I can attest that when she
moved, it was always and only due to fear of being discovered by the press or ‘vigilantes’ – the fear was
palpable.

The only reason that she was forced to find quiet places to be in all this time,
            is due to the howling ‘mobs’ screaming for her ‘scalp’ on Twitter and other social media
outlets.                                       has been forced to ‘hide’ from the crazy people who seem
to want to take matters into their own hands and grab her themselves or worse, aided and abetted by
the media – The Sun for example in the UK has offered a £10,000 “bounty” on her head for anyone who
can get them “in front of her” - - this on November 19, 2019 - was extremely shocking          and scary –
it felt like incitement to violence                                                                      I
can attest to the fear that it engendered.

With this kind of ‘vigilante’ publicity, her life has absolutely been in danger and she has herself received
death threats and also even her own attorneys too. This is not a joke. This is the sole reason why she
has had to find private homes that are independent - - Literally any person at all who has had even the
most small of interactions has been vilified in the press - -            did not “slither away” anywhere –
she was finally able to locate a place where she could not be moving around constantly and collect
herself to fight for her life and to clear her name. That is all she has been doing.

I also want to address the widely published statements and media views that                was “a fugitive
from justice and from the FBI”, a “proven criminal”, and that she was reported as being in places as far
flung as Brazil, London, Israel, France, in a submarine, on a yacht, being protected by the Mossad,
Special Forces, etc. Nothing was further from the factual truth.             never left nor intended to
leave the United States. She wanted only to stay close to her family and fight her case and was in
constant contact with her lawyers all the time                   Up until the day of her arrest, she had
never been in any criminal situation whatsoever and had neither been charged, arrested, or interviewed
and therefore had no reason at all to be “hiding from the police” - which she categorically was not.

          has only and always maintained her absolute innocence of these accusations, and how she has
felt 100% frustrated that she cannot come out and fight against each and all allegations in the civil suits
that have come against her. I know deeply and expect that she will welcome a fair legal process to clear
her name.



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